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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

 v.                                                           Case No: 21-cr-525-ABJ

 SAMUEL LAZAR,

                   Defendant.


                REPLY MEMORANDUM IN FURTHER SUPPORT OF THE
          PRESS COALITION’S APPLICATION FOR ACCESS TO VIDEO EXHIBITS

           The Press Coalition respectfully submits this reply memorandum in further support of its

Application for access to two video recordings that the Government submitted to this Court in

this matter (the “Video Exhibits”). The Government has stated that (1) it submitted the Video

Exhibits to the Court during Defendant’s detention hearing; (2) neither party asked the Court to

seal the Video Exhibits; and (3) the Video Exhibits “were used in this Court’s decision on

detention.” Resp. to Minute Order Regarding Video Exhibit Release at 1-2 (“Gov’t Resp.”),

Dkt. 19. The Government thus agrees that the Court should grant the Application. Id.

           Defendant Samuel Lazar objects to the release of one video obtained from an officer’s

body-worn camera (“BWC”), however, but he does not – and cannot – identify any facts

distinguishing this case from the many others in which the Press Coalition’s requests for video

exhibits have been granted, including cases where other Capitol riot defendants have raised

objections similar to those Lazar makes here as to the BWC video exhibit.1 See Def.’s Resp. to


      1
     To date, the Press Coalition has received access to, and permission to republish, almost all
videos submitted as exhibits or shown at a detention hearing, and 50 BWC videos have been
released to the Coalition. See, e.g., Minute Order of August 8, 2021, United States v. Gieswein,
No. 21-cr-24-EGS (releasing three BWC videos); Minute Order of July 23, 2021, United States
v. Sabol, No. 21-cr-35-EGS-1 (releasing video exhibits, including three BWC videos); Minute
Order of July 22, 2021, United States v. Morss, No. 21-cr-00040-TNM-5 (releasing video
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Minute Order Regarding Video Exhibit Release (“Def.’s Resp.”), Dkt. 21. The Court should

therefore grant this Application as well and overrule Defendant’s objections to public access.


exhibits, including six BWC videos); Minute Order of July 19, 2021, In re Application for
Access to Certain Sealed Video Exhibits, No. 21-mc-86-CJN (releasing four BWC video exhibits
from United States v. McKellop, 21-cr-268-CJN); Minute Order of July 12, 2021, United States
v. Harrelson, No. 21-cr-28-APM-10; Minute Order of July 9, 2021, United States v. Perkins, No.
21-cr-447-CJN-4 (releasing two BWC videos); Minute Order of July 8, 2021, In re Press
Coalition’s Motion for Access to Video Exhibits, No. 21-mc-84-EGS (releasing video exhibits
from United States v. Whitton, 21-cr-35-EGS-5, including three BWC videos); Minute Order of
July 6, 2021, United States v. Jensen, No. 21-cr-6-TJK-1; Minute Order of July 3, 2021, In re
Application for Access to Certain Sealed Video Exhibits, No. 21-mc-89-TSC (releasing five
video exhibits from United States v. Foy, 21-cr-108-TSC-1, including one BWC video); Minute
Order of July 6, 2021, In re Application for Access to Certain Sealed Video Exhibits, No. 21-mc-
82-ABJ (releasing one BWC video exhibit from United States v. Sibick, 21-cr-291-ABJ-1);
Minute Order of July 2, 2021, In re Application for Access to Certain Sealed Video Exhibits, No.
21-mc-74-EGS; Minute Order of June 28, 2021, In re Application for Access to Video Exhibit,
No. 21-mc-80-TJK; Minute Order of June 25, 2021, United States v. McHugh, No. 21-mj-00436-
GMH-1 (releasing nine BWC videos); Minute Order of June 23, 2021, United States v. Owens,
No. 21-cr-286-BAH (releasing two BWC videos); Minute Order of June 23, 2021, United States
v. Mock, No. 21-mj-469-RMM-1 (releasing two BWC videos); Minute Order of June 21, 2021,
In re Application for Access to Video Exhibits, No. 21-mc-76-TJK; Minute Order of June 17,
2021, In re Application for Access to Certain Sealed Video Exhibits, No. 21-mc-77-RCL
(releasing four video exhibits submitted in United States v. Fairlamb, 21-cr-120-RCL-1,
including one BWC video); Minute Order of June 17, 2021, In re Application for Access to
Video Exhibits, No. 21-mc-83-APM (releasing BWC video submitted in United States v.
Webster, 21-cr-208-APM-1); Minute Order of June 16, 2021, In re Application for Access to
Video Exhibits, No. 21-mc-79-TNM; see also Mem. Op. and Order, In re Application for Access
to Video Exhibits, No. 21-mc-75-PLF (ordering release of all video exhibits other than sealed
Capitol surveillance videos the Government represented “contain sensitive information about the
U.S. Capitol surveillance system”).

    In three cases, the Press Coalition has secured access over precisely the same objection this
Defendant raises here – i.e., an objection that releasing video exhibits will prejudice the defense
and taint the jury pool. Order, United States v. James, No. 21-cr-28-APM, Dkt. 360 (ordering
release of videos submitted by the Government with a motion to reopen the defendant’s
detention hearing, including two BWC videos); Mem. Op., In re Application for Access to
Certain Video Exhibits (“In re Klein”), No. 21-mc-78-RC, Dkt. 7 (ordering release of two BWC
videos shown at defendant’s detention hearing in United States v. Klein, No. 21-cr-236-RC);
United States v. Jackson, 2021 U.S. Dist. LEXIS 49841, at *13-14 (D.D.C. Mar. 17, 2021)
(ordering release of videos submitted and shown at defendant’s detention hearing, including one
BWC video).

   All of the video exhibits released to the Press Coalition pursuant to its applications are
accessible at the following link: https://projects.propublica.org/jan-6-video-evidence/.

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                                          ARGUMENT

I.     The Video Exhibits Are Judicial Records Subject To The Public Right Of Access.

       Both the Government and Defendant concede the Video Exhibits were submitted to the

Court, and therefore the Court must apply the common-law test for release of judicial records to

determine whether they should be released to the Coalition at its request. Def.’s Resp. at 1-2;

Gov’t Resp. at 1-2. Under the law of this Circuit, the Video Exhibits are judicial records subject

to the public right of access under the First Amendment and common law.

II.    Defendant Fails To Overcome The Presumption Of Access To The Video Exhibits.

       Because the Video Exhibits are judicial records, they are subject to the powerful

presumption of public access under the First Amendment and the common law. See Press-Enter.

Co. v. Super. Ct., 478 U.S. 1, 12-13 (1986) (holding that First Amendment right of access applies

to preliminary hearings in criminal cases); United States v. Jackson, 2021 U.S. Dist. LEXIS

49841, at *13-14 (D.D.C. Mar. 17, 2021) (ordering release of video exhibits submitted at a

detention hearing in another Capitol riot case after concluding they are judicial records subject to

the “strong presumption in favor of public access” under the common law). In objecting to

release of these Video Exhibits, Defendant fails to overcome the presumption of public access.

       First, the Video Exhibits are subject to the First Amendment right of access, and

Defendant cannot possibly show that continued secrecy “is essential to preserve higher values

and is narrowly tailored to serve that interest.” Dhiab v. Trump, 852 F.3d 1087, 1102 (D.C. Cir.

2017) (Williams, J., concurring). Indeed, the Press Coalition expressly seeks these Video

Exhibits under both the First Amendment and the common law, see Application at 1, and

Defendant never even attempts to carry the extraordinary burden required to overcome the First

Amendment right of access, nor could he possibly do so.



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       Second, based on the D.C. Circuit’s six-factor Hubbard test, Defendant cannot even

overcome the common law right of access to these videos. Those factors are: (1) the need for

public access to the documents at issue; (2) the extent of previous public access to the

documents; (3) the fact that someone has objected to disclosure, and the identity of that person;

(4) the strength of any property and privacy interests asserted; (5) the possibility of prejudice to

those opposing disclosure; and (6) the purposes for which the documents were introduced during

the judicial proceedings. United States v. Hubbard, 650 F.2d 293, 317-22 (D.C. Cir. 1980).

       Factor 1: This factor addresses “the need for public access to the documents at issue,”

Hubbard, 650 F.2d at 317-18, and contrary to Defendant’s representation, it “weighs heavily in

favor of public access,” see Jackson, 2021 U.S. Dist. LEXIS 49841, at *17. These Video

Exhibits would allow the public to see for themselves “the assault on the Capitol building on

January 6, 2021 and this effort to disrupt the democratic process in counting electoral votes,”

which remains of “deep national importance and public interest both as to the offense conduct

and individuals involved.” Id. Because the Application advances the “strong public interest in

seeing real-time images of what happened that day,” see In re Klein at 7, Factor 1 of the

Hubbard test strongly favors disclosure.

       Factor 2: This factor considers “the extent of previous public access to the documents.”

Hubbard, 650 F.2d at 319. Defendant’s counsel represents that he “is unaware of prior public

disclosure of Exhibit #1.” Def.’s Resp. at 2. However, the Government’s motion for Defendant’s

detention details descriptions of Defendant’s alleged conduct as shown in the Video Exhibits, as

well as screenshots of body-worn camera footage fitting the description of the first Video

Exhibit. See Gov’t’s Mot. for Pretrial Detention at 3-10. These screenshots and descriptions

purportedly “depict defendant’s most egregious conduct and therefore [have] already been made



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publicly accessible.” Jackson, 2021 U.S. Dist. LEXIS 49841 at *20. Factor 2 thus weighs in

favor of public access as well.

        Factor 3: This factor considers “the fact that someone has objected to disclosure.”

Hubbard, 650 F.2d at 319-22. Here, Defendant alone has objected to disclosure of one Video

Exhibit, which means that Factor 3 also favors public access. See Jackson, 2021 U.S. Dist.

LEXIS 49841 at *20; In re Klein at 9.2

        Factor 4: This factor considers “the strength of [any] property and privacy interests

asserted.” Hubbard, 650 F.2d at 319-22. Defendant cannot assert any privacy interest in videos

that “were captured while he was participating very publicly with a mob assaulting the Capitol.”

Jackson, 2021 U.S. Dist. LEXIS 49841, at *22; In re Klein at 9. Factor 4 thus favors access to

the Video Exhibits.

        Factor 5: This factor considers the “possibility of prejudice” to the party objecting to

access. Hubbard, 650 F.2d at 319-22. Here, Defendant claims “the potential for prejudice to

Mr. Lazar is great, particularly with respect to potential jurors if this case proceeds to trial,” but


2
  Defendant represents that “typically,” BWC footage “is disclosed by the government pursuant
to a protective order that prevents dissemination to the press.” Def.’s Resp. at 1. This is both
inapposite and inaccurate based on the Press Coalition’s extensive experience obtaining video
exhibits submitted or shown to the Court in the Capitol riot prosecution proceedings. First, most
of the protective orders entered into Capitol riot cases – which has not been entered here –
explicitly state that the Government “will not designate as Sensitive or Highly Sensitive” the
“vast amount” of BWC footage. E.g., Protective Order Governing Discovery at 1 n.1, United
States v. Anderson, No. 21-cr-215-RC, Dkt. 20 (emphasis in original). Second, judges in this
District have consistently rejected this request when made by the Government, to the point that
the Government stopped requesting video exhibits be released with republication restrictions.
See, e.g., Minute Order of June 24, 2021, In re Application for Access to Certain Sealed Video
Exhibits, 21-mc-85-CRC (Judge Cooper rejected the Government’s argument that the video
exhibits should be released to the Press Coalition with republication restrictions, which was
“contrary to the position the government has taken in other January 6th cases,” and ordered
release of exhibits, including two BWC videos, to the Coalition without republication
restrictions. The released videos are viewable under “USA v. Egtvedt” at the following link:
https://projects.propublica.org/jan-6-video-evidence/).


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such a speculative and unsupported assertion carries no weight at all. Jackson, 2021 U.S. Dist.

LEXIS 49841, at *23 (in another case concerning access to Capitol riot videos, concluding that

“defendant simply [did] not specify what prejudice may result from disclosure” given “the

obvious circumstance that he has been charged with serious felony violations, based on alleged

offense conduct described in detail in publicly filed documents, including the criminal complaint

and the government’s briefs in support of pretrial detention”); Order, United States v. James, No.

21-cr-28-APM, Dkt. 360 (ordering release of videos over the defendant’s objections because

“prejudice from release is mitigated by the government’s prior detailed description of the

exhibits’ contents and publication of still images,” and defendant “does not rebut the notion that

a rigorous voir dire would root out potential prejudice”); In re Klein at 9-10 (rejecting a Capitol

riot defendant’s broad claim of potential prejudice where, as here, the parties detailed what was

depicted in the videos during the hearing and in filings, and screenshots of the “most egregious

conduct” were included in Government filings).

       Controlling D.C. Circuit precedent rejects the very type of unsupported arguments that

Defendant makes here. In In re NBC, the D.C. Circuit held that the “right to inspect and copy”

judicial records outweighed concerns that release might prejudice defendants’ fair trial rights by

tainting a future jury pool, because “voir dire has long been recognized as an effective method of

rooting out such bias.” 653 F.2d 609, 613-17 (D.C. Cir. 1981); United States v. Thompson, 1989

U.S. App. LEXIS 19909, at *3 (D.C. Cir. Oct. 13, 1989) (“[A] searching and carefully conducted




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voir dire of potential jurors in future trials will fully protect the defendants’ rights to a fair trial

without unduly impairing the public’s right of access.”) (citations and internal marks omitted).3

        Moreover, Defendant’s involvement in the January 6 riots is well documented. See, e.g.,

Wanted Lancaster County man with ties to GOP lawmaker Doug Mastriano arrested on Capitol

riot charges, The Philadelphia Inquirer (July 27, 2021), https://www.inquirer.com/news/samuel-

lazar-capitol-riot-doug-mastriano-face-paint-blowhard-20210727.html; Pennsylvania Man

Arrested for Assault on Law Enforcement During Jan. 6 Capitol Breach, Dep’t of Justice (July

27, 2021), https://www.justice.gov/usao-dc/pr/pennsylvania-man-arrested-assault-law-

enforcement-during-jan-6-capitol-breach-0. This previous coverage of Defendant’s actions on

January 6 further undermines his argument for withholding any of the Video Exhibits, as the

D.C. Circuit made clear in Washington Post v. Robinson, 935 F.2d 282 (D.C. Cir. 1991). There,

the Post sought access to the plea agreement of a district employee who cooperated with an

investigation into Mayor Marion Barry, and the government argued that the record should remain

sealed because it “was part of an ongoing criminal investigation that might be compromised or

that might embarrass innocent parties if publicized,” because “release of the agreement may

[have made] it difficult to secure the cooperation of other witnesses,” and because “the safety of

[the cooperator] and his family would have been placed at risk.” Id. at 283-85, 291 (D.C. Cir.

1991) (citation, internal marks, and alterations omitted). The D.C. Circuit rejected these

speculative concerns, reasoning that the substantial amount of already-public information about

the investigation and the cooperator’s involvement, including information reported by the press,


    3
      See also United States v. Criden, 648 F.2d 814, 827 (3d Cir. 1981) (“the appropriate course
to follow when the spectre of prejudicial publicity is raised is not automatically to deny access
but to rely primarily on the curative device of voir dire examination”); United States v. Martoma,
2013 U.S. Dist. LEXIS 182959, at *24 (S.D.N.Y. Dec. 28, 2013) (“Numerous courts in high-
profile cases have recognized that a thorough voir dire may be adequate to address concerns
about the effect of pre-trial publicity on a defendant’s right to a fair trial.”) (collecting cases).

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meant that unsealing the plea agreement “could hardly have posed any additional threat to the

ongoing criminal investigation.” Id. at 292 (emphasis added). Release of these Video Exhibits

likewise does not and cannot pose any additional risk to Defendant, and as a result Factor 5

weighs in favor of access as well.

       Factor 6: This factor considers the purpose for which the records were introduced, see

Hubbard, 650 F.2d at 319-22, and here the Government submitted the Video Exhibits for the

purpose of persuading the court that Defendant should be detained pending trial. That purpose

tips heavily in favor of public access. See Jackson, 2021 U.S. Dist. LEXIS 49841, at *23

(“[T]here is a strong presumption of public access to documents that a litigant submits with the

intention that the court will rely on them.”) (internal marks omitted).

       Like all the others, therefore, Factor 6 weighs in favor of public access. In sum, the

Hubbard test leads to the clear conclusion that the Press Coalition should receive access to the

Video Exhibits without restriction and without delay.

                                         CONCLUSION

       For the foregoing reasons and those stated in the initial Application, the Press Coalition

respectfully requests that the Court enter an order (1) directing the Government to provide the

Press Coalition with copies of the Video Exhibits and (2) permitting the Press Coalition to

republish those Video Exhibits without restriction.




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Dated: August 30, 2021    Respectfully submitted,

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